      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 1 of 41




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

STANTON SQUARE, LLC                      *
                                         *                  CIVIL ACTION NO.
versus                                   *
                                         *                  JUDGE:
THE CITY OF NEW ORLEANS,                 *
THE NEW ORLEANS CITY COUNCIL, and *                         SECTION:
FREDDIE KING, III, in                    *
his official capacity as a member of the *                  MAGISTRATE:
New Orleans City Council                 *
                                         *
*****************************

                   COMPLAINT FOR INJUNCTIVE, DECLARATORY,
                                  AND MONETARY RELIEF

       NOW COMES Plaintiff, Stanton Square, LLC (hereafter, “Plaintiff” or “Stanton Square”),

who, through undersigned counsel, brings this complaint against Defendants, The City of New

Orleans (hereafter, “the City”), the New Orleans City Council (hereafter, “City Council”), and

Freddie King, III, in his official capacity as a member of City Council (hereafter, “Councilmember

King”) (collectively, “Defendants”), and states the following:

                               PRELIMINARY STATEMENT

       1.      Plaintiff brings this action against Defendants for their discriminatory,

unconstitutional, and unlawful actions that have delayed, prevented, and otherwise interfered with

Plaintiff’s attempts to construct a multi-family affordable housing apartment complex for working

and middle-class individuals and families in the City of New Orleans.

       2.      Plaintiff began plans to develop certain property in Lower Coast Algiers into an

apartment complex called The Village at English Turn (hereafter, “The Village” or “the

Development”). Within weeks of Plaintiff’s application for a design review with the City of New

Orleans’ City Planning Commission, residents of the surrounding area, particularly residents of

the mostly-White English Turn Golf Course and Country Club community and members of its
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 2 of 41




Property Owners’ Association (hereafter, “ETPOA”), launched a discriminatory campaign in

opposition to the Development. City officials, including Councilmember Freddie King, a resident

of English Turn, ceded to the residents’ demands and subsequently prevented the Development

from moving forward in the permitting process.

       3.      The ETPOA’s communications with City councilmembers around this time

included references to the Development’s purported negative impact on the area’s crime, safety,

and property values. Such references reflect illegal discrimination and stereotypes of the intended

residents of the Development.

       4.      New Orleans has a profound lack of quality affordable housing for working and

middle-class citizens. The Village, if built, would help alleviate the need for affordable housing,

particularly among African Americans, Hispanics, and families with children.

       5.      Lower Coast Algiers specifically lacks quality affordable housing. Consistent with

this region’s housing needs, the area on which the Village is to be built has been zoned for multi-

family residential properties since the 1980s.

       6.      Given the demographics of the surrounding housing market, the Village’s

apartments would be disproportionately occupied by African Americans, Hispanics, and families

with children, who are over-represented among area households with incomes likely to rent homes

at The Village’s price points. The diverse population that would rent The Village’s units would

also alleviate the extreme segregation of English Turn and the surrounding area.

       7.      Despite the property at issue being zoned precisely for Plaintiff’s intended

development, Defendants have taken actions to delay the Development indefinitely through the

passage of an interim zoning district (“IZD”). The IZD placed an immediate moratorium on the

issuance of permits for multi-family housing and commercial development on Plaintiff’s property.

At the same time the IZD was passed, Councilmember King, at the behest of the ETPOA,
                                                 -2-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 3 of 41




submitted an application to permanently amend the future zoning designation of the Property to

potentially downzone the Property to single-family or rural. Thus, the interim zoning district was

enacted simply to delay development until the Property can be downzoned, effectively banning

the Development and depriving New Orleans of The Village’s much-needed affordable housing.

       8.      The City Council’s actions, influenced by the discriminatory invective coming

from residents and organizations like the ETPOA, have also incited a campaign of harassment and

criminal vandalism against Plaintiff and its development. These efforts to intimidate and deter

Plaintiff have escalated during the time that the City Council has delayed the development of The

Village.

       9.      This action is brought under the Fair Housing Act of 1968, as amended; 42 U.S.C.

§ 3601, et seq.; Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq.; the Civil

Rights Act of 1871, as amended; 42 U.S.C. § 1983; Louisiana Equal Housing Opportunity Act;

La. R.S. § 51:2601, et seq.; and the United States and Louisiana Constitutions.

       10.     Defendants’ actions in opposition to The Village have unlawfully discriminated

against potential residents on the basis of race and familial status; have a disparate impact on the

basis of race and familial status; and perpetuate segregation in violation of the Fair Housing Act

of 1968, as amended, 42 U.S.C. § 3601, et seq.

       11.     Plaintiff seeks declaratory relief, preliminary and permanent relief, a writ of

mandamus, and damages for Defendants’ unlawful behavior.

                                JURISDICTION AND VENUE

       12.     Plaintiff’s claims, inter alia, arise under 42 U.S.C. § 1983, 42 U.S.C. § 3601, 42

U.S.C. § 2000, and the U.S. Constitution; thus, this Court has subject matter jurisdiction pursuant

to federal question jurisdiction, 28 U.S.C. § 1331, 1343(a)(3), 2201, and 2202, and 42 U.S.C.

§ 3613(a).
                                                 -3-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 4 of 41




       13.     Under 28 U.S.C. § 1367, this Court has supplemental subject matter jurisdiction

over Plaintiff’s state law claims, because the state law and the federal law claims arise out of a

common nucleus of operative facts.

       14.     This Court has personal jurisdiction over all of the parties, because all of the parties

are citizens of Louisiana.

       15.     Venue is proper in this Court under 28 U.S.C. § 1391(b), because one or more

defendants reside in the Eastern District of Louisiana, and because a substantial part of the events

or omissions giving rise to the claims raised herein occurred in the Eastern District of Louisiana.

                                          THE PARTIES

       16.     Plaintiff, Stanton Square, LLC, is a Louisiana limited liability company domiciled

in the State of Louisiana. Plaintiff is the owner of certain real property described as Lots XB-1-B

and XB-1-C of the English Turn Subdivision, located within the Fifth Municipal District and

Thirteenth Planning District of the City of New Orleans (hereafter, “the Property”). The Property

is bounded by English Turn Parkway, Woodland Highway, River Road, and Stanton Road, and it

has a municipal address of 40 English Turn Parkway, New Orleans, Louisiana.

       17.     Defendant, the City, is a political subdivision of the State of Louisiana, organized

pursuant to and governed by the Home Rule Charter of the City of New Orleans (hereafter,

“HRC”).

       18.     Defendant, City Council, is a legislative branch of the City, created and governed

by the HRC.

       19.     Freddie King, III is a citizen and resident of the State of Louisiana. Upon

information and belief, Councilmember King resides in the English Turn neighborhood of Orleans

Parish, Louisiana. He is, and was at all times relevant to this Complaint, a member of City Council,

representing District “C.” Councilmember King acted under the color of state law as a member of
                                                 -4-
       Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 5 of 41




City Council at all relevant times in this Complaint.

                                     FACTUAL BACKGROUND

New Orleans Segregation and Need for Additional Housing Stock

        1.      Segregation has been and continues to be a problem for the City of New Orleans.

The most widely-used measure of racial residential segregation is the dissimilarity index. The

highest band of segregation on the dissimilarity index is a score of 60 and above. Orleans Parish,

which encompasses most of the City, has a score of 65.8.

        2.      English Turn—the location of the subject Property—is even more segregated than

the rest of New Orleans and is in need of additional housing. While New Orleans is a majority

African American city, with more than 57% of New Orleanians being African American, as

compared to 30.5% being White, 1 the area surrounding English Turn is between 20-40% African

American. The adjoining Plaquemines Parish is only about 20% African American.

        3.      Any housing development, particularly an affordable housing development

drawing its residents from the surrounding housing market, would be disproportionately occupied

by African Americans and Hispanics, as compared to the existing English Turn and Plaquemines

Parish populations, and would greatly reduce the existing segregation of English Turn and

Plaquemines Parish.

        4.      Maps depict the story of segregation and White flight in the English Turn area. This

map depicts the percentage of African American and Hispanic residents living in the areas

surrounding the Property and English Turn, as reflected in the 2022 American Community Survey.




1
   Except where otherwise noted, population estimates and racial percentages refer to 2021 American Community
Survey Estimates Subject Tables from the U.S. Census Bureau’s website at data.census.gov.
                                                    -5-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 6 of 41




       5.      The census block groups that comprise “the Triangle” (Census Tract 617, marked

in deep blue on the map above) are racially diverse, with between 86.3% and 97.6% of its

population being African American and Hispanic. (For example, the two census block groups

directly abutting English Turn and Plaquemines Parish are 85.8% African American and

Hispanic.) There is then a clear demarcation between the racially-diverse Triangle and the other

two components of the peninsula. The census block group that includes Plaquemines Parish is

overwhelmingly White: its population is just 0.5% African American and Hispanic. English Turn,

at 32.8% African American and Hispanic, is marginally better, but it is still less racially diverse

than the Triangle.

       6.      The City of New Orleans has a significant need for affordable housing in general.

HousingNOLA noted in its 2022 report that the City is facing a housing crisis, giving the City a

                                                -6-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 7 of 41




failing grade for housing availability and affordability. There is a major gap between the price of

housing and what its residents can afford. This gap is most acute in the 0-50% Area Median Income

(“AMI”) range, where the demand far outstrips the supply, resulting in renters either not finding

housing or paying more of their income for it.

       7.      According to the National Low Income Housing Coalition, of the people making

between 30-50% of AMI, more than 40% are severely cost burdened, meaning they are spending

more than half of their household income on housing costs. Thirty-nine percent (39%) of moderate-

income households—people making between 51-80% of AMI—are also severely cost burdened.

Overall, 63% of renters in New Orleans are cost burdened.

       8.      This is compounded by the City’s general lack of housing, with only 47 units

available for every 100 people in need of affordable housing. According to the City’s Master Plan,

there is a need for almost 35,000 units to meet demand. HousingNOLA puts that figure at 47,000.

This lack of housing has increased competition for available units, driving up prices and

disadvantaging working and middle-class New Orleanians who have to compete for units with

people who can afford to pay more.

       9.      Indeed, the City noted in its Master Plan that promoting affordable housing choice

is one of the City’s top priorities, and that affordable multi-family housing is one of the “key

ingredients of livability” for New Orleans. The Plan also emphasizes making the transition “from

lower to higher density development” in order to “ensur[e] housing affordability and choice.”

       10.     Notably, the City is a recipient of federal Community Development Block Grant

(“CDBG”) funding. As a recipient, the City is required to certify to the United States Department

of Housing and Urban Development (“HUD”) that it is taking actions to affirmatively further fair

housing choice. It is also required to complete, and periodically update, an analysis of impediments

to fair housing choice. In order to certify to HUD that it is affirmatively furthering fair housing,
                                                 -7-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 8 of 41




the City is required to take appropriate actions to overcome the effects of any impediments

identified through that analysis.

       11.     In spite of this certification, many of the City’s actions have exacerbated the

housing crisis. In 2007, the City Council voted to eliminate most social housing in the City,

removing nearly 13,000 people from stable housing. Ninety-nine percent (99%) of those people

were African American.

       12.     The City Council has also had a history of implementing restrictive policies in clear

contravention of the City’s stated public policy goals, and in spite of the growing need for housing.

The City Council has either taken no action or has expressly made the issues worse by offering

administrative exceptions that undermine the effectiveness of even minor reforms.

       13.     In recent years, Defendants have faced legal challenges to its discriminatory zoning

tactics. For example, the United States Department of Justice (“DOJ”) filed a lawsuit in this Court

against the City under the Fair Housing Act (“FHA”), 42 U.S.C. § 3604(f)(1), and Title II of the

American with Disabilities Act (“ADA”), 42 U.S.C. § 12132 for taking a series of actions that

were designed to prevent the construction of a 40-unit housing development—The Esplanade—

that would provide necessary housing and services for homeless and low-income New Orleanians

with disabilities. The measures the City took included denying successive variance requests and

the imposition of a moratorium to halt approval of bond financing for low-income housing projects

in the City. The moratorium was imposed allegedly to study whether the housing market would

support The Esplanade and two other projects.

The City’s History of Ceding to Neighborhood Associations and Enacting Restrictive Zoning
Measures

       14.     In 2016, the City and the Housing Authority of New Orleans (“HANO”), in their

HUD-required combined Fair Housing Assessment report, identified neighborhood associations’

                                                 -8-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 9 of 41




opposition to multi-family housing throughout the City and the use of restrictive zoning as “factors

that significantly create, contribute to, perpetuate, [and] increase the severity of segregation.” The

report acknowledged the effect of neighborhood associations lobbying City Council for the use of

restrictive zoning measures to exclude housing developments that would otherwise allow an influx

of people of color into their neighborhoods. To combat these factors, the City and HANO vowed

in the Assessment to prioritize “zoning laws [that] assist [the] private development of affordable

housing to address the overwhelming need.”

       15.     In fact, in that same report, the City noted that areas zoned S-RM1—like the

Property in question—are “high opportunity” areas where it is “highly important that zoning laws

assist private development of affordable housing to address the overwhelming need.”

       16.     A 2021 report prepared by the Louisiana Fair Housing Action Center found that,

since 2008, neighborhood association boards, comprised mostly of White residents, have led

successful “Not In My Backyard” (“NIMBY”) campaigns that have killed or otherwise delayed

606 affordable homes throughout the City.

       17.     It is against this backdrop that the New Orleans City Council acted to prevent the

construction of Plaintiff’s affordable, multi-family housing development.

Plaintiff’s Property and Plans for Development

       18.     Plaintiff is a limited liability company owned and incorporated by Xinhong Zhang.

Ms. Zhang is Chinese American and is a member of a protected class.

       19.     Sometime in 2020, Plaintiff commenced a search within Orleans Parish for a

suitable and properly-zoned tract of land to develop a multi-family housing complex. After an

exhaustive search, in March 2021, Plaintiff purchased the Property, an undeveloped tract of

forested land in Lower Coast Algiers, with the intent of developing The Village.

       20.     The Property has been zoned as Suburban Multi-Family Residential (“S-RM1”)
                                                 -9-
     Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 10 of 41




since the 1980s. This zoning allows for the development of lower-density multi-family housing,

with up to 35 units per acre. The Property is one of several lots in Lower Coast Algiers that are

zoned S-RM1, a zoning designation indicating the City’s belief that it is a prime placement for

private development of affordable housing.

       21.    The Property’s future land use designation, which is set forth in the Future Land

Use Map (“FLUM”) of the Master Plan, also allows for multi-family development. The FLUM

sets forth categories of allowable land uses and density for the purpose of directing the future

development and redevelopment of private and public property in the City. When the Master Plan

was adopted in 2010, the Property was given a Residential Multi-Family Post-War (“RMF-POST”)

designation, indicating that the long-range vision for this portion of Algiers was to enable some

multi-family development alongside the single-family developments that already exist in the area.

       22.    The Development plans are entirely consistent with the S-RM1 zoning

designation’s density and building regulations and satisfy the Master Plan’s goals for the

Property’s future use. No variance or conditional permit would be required.

       23.    Under the Master Plan, the City’s stated goal for RMF-POST areas is to encourage

the development of moderately dense, walkable neighborhoods near transit hubs. The Master Plan

acknowledges that, to achieve this goal, it must allow developments with “densities higher than

the surrounding neighborhood,” especially where the project “is providing significant public

benefits such as long-term affordable housing.”

       24.    Plaintiff’s development fits squarely within the stated goals of the City for this area,

as well as within the current S-RM1 zoning designation. The Village is designed to be a multi-

family residential complex with 278 rental units, consisting of 104 one-bedroom units, 126 two-

bedroom units, and 48 three-bedroom units on 16.8 acres. A significant portion of the units,

including all of the one and two-bedroom units, would be priced to be affordable housing, based
                                               -10-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 11 of 41




on HUD’s current metrics.

       25.      The Development calls for the construction of nine (9) three-story separate

buildings and two (2) four-story buildings. The Village would have approximately 16 units per

acre—well within the 35 units per acre permitted under this zoning designation, and notably less

than the 18 units per-acre density permitted on some lots within English Turn that are zoned for

two-family housing. Further, this type of development is in accordance with the Property’s highest

and best use.

       26.      In addition to being in full compliance with the applicable zoning designation and

building regulations, The Village is designed to blend in with the aesthetics of the surrounding

area’s lower density suburban character. It will be comprised of 40% permeable open space with

a scenic detention pond, as well as the preservation of over two dozen oak trees.




       27.      The Village is designed to accommodate many families with children. The two-

and three-bedroom units make up nearly two-thirds of The Village’s 278 units. The complex will

also feature a swimming pool, clubhouse, and a playground to appeal to and serve families with
                                               -11-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 12 of 41




children.

        28.     The Village’s plans include additional community amenities, such as a gym, pickle

ball courts, a dog park, a dog spa, walking trails, and storage units.

        29.     Plaintiff’s plan provided for quality housing that was affordable to and designed to

meet the needs of New Orleans renters. If built, the Village would significantly relieve New

Orleans’ housing crisis by offering many units of quality and affordable rental housing,

particularly to the benefit of racial minorities and families with children.

        30.     Prior to the recent events that are the subject of this litigation, The Village was

slated to begin opening in phases in December 2023, with full availability by the end of 2024.

The Peninsula and Its Residents

        31.     The Property is situated on a bisected 10,000-acre peninsula of mostly undeveloped

woodlands immediately south of the Intracoastal Waterway along the bend of the Mississippi

River. The northeastern half is within Orleans Parish, and the southwestern half is within

Plaquemines Parish (collectively, hereafter, “the Peninsula”). The entirety of the Orleans Parish

area of the Peninsula is encompassed in Planning District Thirteen and is often referred to as

“Lower Coast Algiers.”

        32.     At the center of the Peninsula is the English Turn community, a 650-acre gated

community of wealthy residents whose homes circle a private 18-hole golf course designed by

famed golfer Jack Nicklaus. English Turn touts its country club facilities that include dining

venues, a fitness center, a pool, tennis courts, nature trails, basketball courts, baseball fields, and a

butterfly garden. There are 450 private homes in English Turn.

        33.     The initial development of English Turn involved significant deforestation of the

650-acre area and the use of 1.2 million cubic yards of fill to meet the 1 to 5-foot thickness

requirement by the Army Corps of Engineers.
                                                  -12-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 13 of 41




       34.     Lower Coast Algiers remains mostly White. English Turn specifically is more than

60% White, markedly less diverse than the Parish as a whole. It abuts Plaquemines Parish, which

is almost entirely White, with about 20% of its residents being African American or Hispanic.

       35.     While there are several parcels zoned to allow multi-family residential

developments in Lower Coast Algiers, there are currently no such developments on the Peninsula.

However, on the other side of the Intracoastal Waterway, there are several multi-family housing

developments in and surrounding the Triangle. Many of these complexes are old and lower-quality

and, upon information and belief, are either at or near capacity.

       36.     Any affordable housing development in New Orleans—especially one targeting

middle and working-class people and families with children—is likely to draw mostly African

American and Hispanic residents, since the majority of the City’s renters and the vast majority of

the City’s working class are of those backgrounds.

       37.      Moreover, specific to Lower Coast Algiers, an affordable housing development

near English Turn will draw its residents from the areas just north of the Intracoastal Waterway,

which are disproportionately African American and Hispanic, as compared to the current

occupants of English Turn and Plaquemines Parish.

The Application and Neighborhood Opposition

       38.     After acquiring the Property in March 2021, Plaintiff spent several months

researching local and regional apartment complexes to find the right architects and engineers for

the Project, eventually settling on an architecture firm with experience designing high-quality

multi-family housing. Soon after, Plaintiff assembled a complete team of civil, geotechnical,

structural, mechanical, and electrical engineers.

       39.     Beginning in the fall of 2021, Plaintiff’s architects, engineers, and other

representatives commenced regular communications with City officials in the Department of
                                                -13-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 14 of 41




Safety and Permits, the City Planning Commission (“CPC”), and within the Sewerage and Water

Board’s (“SWBNO”) administration to discuss Plaintiff’s plans for The Village.

       40.     Plaintiff’s local architect began regular communications with staff members of the

CPC about the design review and permitting process, while Plaintiff’s civil engineering team

immediately began communicating with SWBNO representatives and other City officials about

the water and sewerage lines, drainage, and getting approval of their design plans.

       41.     Under the CZO, developments over 40,000 square feet must undergo an initial

review by the CPC’s Design Advisory Committee (“DAC”). In other words, even though the

Project was zoned for multi-family development by right, Plaintiff was required to undergo a

review by the DAC.

       42.     On May 18, 2022, Plaintiff submitted its project proposal application for the

development of The Village.

       43.     Within a matter of weeks after Plaintiff filed its development proposal to the DAC,

intense opposition to The Village among residents of the Peninsula began, and a campaign to

oppose and stop the Project was formed. More specifically, the opposition was, and continues to

be, led by residents of the English Turn community, specifically the ETPOA.

       44.     In organizing their opposition, the ETPOA formed an official Development

Opposition Committee and several subcommittees tasked with hiring legal counsel and exploring

legal avenues to stop the Project, lobbying City officials, and launching a public-relations

campaign.

       45.     Members of the ETPOA, along with a handful of other Peninsula residents, formed

an unincorporated association called “Lower Coast Algiers” (“LCA”) devoted exclusively to

advocating against The Village. LCA launched a website dedicated to posting information about

The Village’s progress and LCA’s efforts to stop it. The home page depicts an ariel view of the
                                               -14-
     Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 15 of 41




Peninsula and the insulated English Turn community with the heading “Protect what we value

most.”

         46.   As word of The Village continued to spread within the English Turn community,

residents began sending discriminatory emails to City officials to oppose the Project. Many of

these emails contained coded discriminatory language about the Development’s alleged impact on

crime, safety, and property values that rely on stereotypes about minorities and lower-income

families with children. Examples include the following:

               •   “Apartment complexes in New Orleans have consistently failed, which
                   issues including but not limited to residents living in less than adequate
                   conditions, having high crime rates, and having concentrated health
                   concerns & quality of life issues. . . . Therefore, my opposition is not
                   based solely on location of this proposed complex but also on the
                   general fact that apartment complexes fail in New Orleans.”

               •   “The city of New Orleans has never had one single apartment complex
                   anywhere in the city that was a success story. Every apartment complex
                   built in this city failed miserably with people living in deplorable
                   conditions, crime and other health concerns.”

               •   “The number of residents possible at the Village . . . does not mirror the
                   residential density in the area. According to HUD regulations, there
                   could be up to 6 adults per 3-bedroom apartments.”

               •   “This development is an afront to our lifestyles.”

         47.   On August 28, 2022, the City’s DAC held a meeting to consider The Village’s

design proposal. Approximately 80 English Turn residents arrived on hired buses to voice their

objections. The minutes of the DAC meeting reflect more unfounded, discriminatory concerns

voiced by the English Turn residents. According to these minutes, the residents were:

               •   “concern[ed] that residents of the apartment complex would bring
                   additional crime and traffic to the area, since they aren’t homeowners
                   and would encourage economic disinvestment or flight from the area.”

               •   “concern[ed] about taking care of families that would reside in the
                   complex.”

                                               -15-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 16 of 41




       48.     The DAC voted to defer its decision on the design and moved to allow Plaintiff to

resubmit its application to include a “full set of building elevations to determine massing, roof

forms, and exterior details” and “3-D renderings to convey the entirety of the site and address

comments regarding site connectivity, circulation, landscape buffers and site context with adjacent

neighborhoods.”

       49.     The DAC scheduled Plaintiff to appear on the DAC’s November 16, 2022 docket

in order to conduct further review of the design, giving Plaintiff time to submit an amended

application, as requested.

The IZD Motion

       50.     Meanwhile, unbeknownst to Plaintiff, the ETPOA, through its counsel, worked

closely and regularly with District C Councilmember King to introduce a motion that would place

a building moratorium on the Property and halt the Development.

       51.     Specifically, on October 6, 2022, Councilmember King submitted Motion No. M-

22-447, docketed as Zoning Docket 98-22, for the establishment of the Lower Algiers Rural

Protection Interim District (“the IZD Motion”). The IZD Motion was clearly targeting The Village.

While it includes a few other properties around English Turn that are also zoned S-RM1, Plaintiff’s

property is the only one currently being developed.

       52.     Plaintiff had no prior notice of the IZD Motion. Because the members of the English

Turn neighborhood and surrounding area were involved in the drafting of the IZD Motion, they

were deeply familiar with its language and the process. At least nineteen (19) individuals submitted

written or electronic comments in support of the IZD Motion. As Plaintiff did not have the same

advantage of prior knowledge of the IZD Motion, it did not appear or make public comment against

the Motion.

       53.     The IZD Motion directed the CPC to consider and conduct a public hearing on
                                               -16-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 17 of 41




whether “to establish by ordinance a new interim zoning district” that would “temporarily prohibit

the development of multi-family residential homes in S-RM1 Multi-Family Districts . . . to allow

for appropriate impact studies regarding drainage, road and utility infrastructure, municipal

services for fire, police, emergency response services, and other public safety considerations, and

an environmental impact analysis.”

       54.     Although it was framed as a directive to the CPC to consider, the IZD Motion had

the practical effect of immediately placing a moratorium on the Development, as it prohibited any

City agency from accepting any permit applications or issuing any permits that would conflict with

the proposed IZD.

       55.     Although Councilmember King initially brought the Motion, the City Council

Clerk, apparently at the direction of the Executive Counsel to City Council, instructed

Councilmember King to remove his name from the Motion on the basis that he owned property in

the affected area. He then recused himself from voting. The IZD Motion instead was brought by

Councilmember Leslie Harris.

       56.     Having received no opposition to the IZD Motion, City Council voted to pass the

IZD Motion, with four (4) councilmembers voting in favor, two (2) councilmembers absent, and

Councilmember King recusing himself.

       57.     The ETPOA’s publicly-posted newsletters show that its members celebrated the

IZD Motion’s passage as a major victory in stopping The Village. According to its October 2022

Newsletter, not only did the ETPOA lobby Defendants for the IZD, its legal team “worked closely

with the office of . . . Council Member Freddie King, whose struggle with avoiding any appearance

of impropriety in acting on a matter where he owns the property is recognized.” It continued, “We

are grateful to all who, determined to protect our community, undertook an effort given little

chance of success.”
                                               -17-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 18 of 41




Plaintiff’s IZD Motion Appeal

       58.     The IZD Motion allowed for anyone potentially aggrieved by the IZD to appeal to

the Executive Director of the CPC, which would then make recommendations on whether to grant

or the deny the Appeal using the following review standards: (1) Is the requested Appeal

compatible with the surrounding land uses and structures?; (2) Does the requested Appeal provide

for an efficient use of land?; (3) Will granting the requested Appeal increase traffic and safety

hazards?; (4) Does the requested Appeal provide for an efficient parking layout?; (5) Will the

requested Appeal increase community environmental impacts?; and (6) Does the requested Appeal

preserve maximum tree canopy?

       59.     As such, on or about November 15, 2022, Plaintiff, through its representative, Scott

Steen, submitted an appeal of the IZD Motion, along with updated plans that addressed the appeal

standards and the DAC’s recommendations for the addition of pedestrian walkways, more

residential amenities, and updated exterior details.

       60.     Initially, upon the filing of the IZD Appeal, the DAC told Plaintiff that it could still

consider Plaintiff’s revised plans at its November 16, 2022 meeting, notwithstanding the IZD

Motion. However, on the eve of the meeting, the CPC Executive Director intervened and informed

Plaintiff that the matter would be taken off the DAC’s docket.

The City Planning Commission Hearing

       61.     The public hearing before the CPC on the IZD Motion was then set for December

13, 2022. The CPC consists of nine (9) members appointed by the Mayor and subject to approval

by City Council. Among its functions, the CPC makes recommendations on the City’s CZO,

including whether to adopt proposed interim zoning districts or make modifications thereto.

       62.     The CPC’s December 13, 2022 public hearing on the IZD was held inside City

Council chambers. Plaintiff and seven (7) other speakers appeared in opposition to the IZD
                                                -18-
     Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 19 of 41




Motion. Only four (4) speakers from the ETPOA appeared in support. The LCA website indicated

the ETPOA was told or otherwise was under the impression that the CPC would vote in favor of

the IZD, and thus the ETPOA determined there was no need for supporters to appear en masse.

       63.     After considering the public comments, the City Planning Commissioners engaged

in a discussion about the merits of the IZD. Commissioner Lund questioned the validity of the

proposed IZD, stating that it went against the intent of the Master Plan. Other Commissioners

expressed incredulity at the use of an IZD to stop a by-right development.

       64.     As noted by members of the CPC, the Development is in full compliance with the

Master Plan, and the IZD would limit the development of needed housing stock within New

Orleans.

       65.     Upon completion of public comment and discussion, Commissioner Witry made a

motion for denial of the IZD request, which was seconded by Commissioner Lund and adopted by

unanimous consent by all seven (7) CPC members in attendance.

       66.     Thereafter, on December 29, 2022, the Executive Director of the City Planning

Commission issued his report on Plaintiff’s IZD Appeal, finding in favor of Plaintiff and

recommending that City Council grant the Appeal.

       67.     As outlined in the detailed report, the Executive Director found that the

Development met each of the six (6) review standards that City Council established in the IZD

Motion. The report further noted that the Development would be consistent with the Master Plan,

and that approving the Appeal would be consistent with the CPC’s recommendation that the IZD

Motion be denied.

City Council’s Passage of the IZD and Denial of Plaintiff’s Appeal

       68.     Even though the CPC had denied the IZD request, the IZD and Appeal were then

placed on City Council’s Regular Meeting Agenda for January 19, 2023.
                                              -19-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 20 of 41




       69.     Plaintiff and other opponents of the IZD Motion appeared for the January 19, 2023

Regular Meeting, expecting to have the opportunity to present comment. However, they

discovered that the matter had been removed from the docket and continued to the February 2,

2023 Regular Meeting. According to the LCA website, members of the English Turn neighborhood

were informed of the continuance well in advance of the January 19, 2023 Regular Meeting, and

thus, again, did not appear en masse.

       70.     On January 30, 2023, City Council issued public notice of the Regular Meeting

agenda for February 2, 2023. Notwithstanding the CPC’s report and recommendation, attached to

the agenda was Motion No. M-23-57 calling for the preparation of an ordinance that would codify

the IZD.

       71.     The draft motion also modified the original IZD Motion in order to set forth appeal

standards that would “more accurately reflect the independent studies prescribed” by the IZD.

Under the draft Motion, Plaintiff could proceed with the Development if it could show that it: (1)

complies with regulations and best practices for stormwater management and drainage; (2) has

undergone a comprehensive traffic study; (3) has been designed to minimize impact on existing

infrastructure and will account for any necessary upgrades; (4) has been designed to ensure

availability of municipal services and will account for any necessary upgrades; and (5) has been

designed to minimize impact on the environment and complies with environmental regulations.

These new standards would have allowed Plaintiff to squarely address the ETPOA and other’s

alleged concerns about the Development’s impact on drainage, water, traffic, availability of

municipal services, and the environment.

       72.     However, on February 1, 2023, without any explanation, Councilmember King’s

office circulated an amended version of Motion No. M-23-57, which omitted the above appeal

criteria, leaving intact the appeal standards set forth in the initial IZD Motion. These standards in
                                                -20-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 21 of 41




the February 1 version included vaguer standards, such as whether the requested appeal was

“compatible with the surrounding land uses and structures” and whether the requested appeal

provided for an “efficient use of land.” Instead of granting Plaintiff a meaningful procedural path

to avoid the IZD by allowing it to present its own studies and design plans to address the very

concerns that allegedly warranted the IZD, the City Council chose standards that afforded it much

broader discretion to deny Plaintiff’s appeal.

       73.     At the February 2, 2023 Regular Meeting, City Council considered Motion Nos.

23-57 and 23-62 (denying Plaintiff’s appeal). The ETPOA argued that it should be passed so that

the vast area of Lower Coast Algiers can maintain its single-family and rural character indefinitely.

They also repeated their unfounded concerns about stormwater flooding, strains on municipal

services like police, ambulance, and water, increased traffic, potential damage to wildlife, and the

removal of trees and fauna. They presented no substantive evidence to support the necessity of the

IZD, relying mostly on hyperbole and innuendo.

       74.     The City Council was put on notice of the discriminatory and practical

consequences of passing the IZD. Plaintiff and other opponents of the IZD argued that the IZD

would be legally improper and presented substantive evidence demonstrating that the proponents’

concerns were arbitrary and unwarranted. Opponents included potential tenants of the

Development who expressed continuing dismay at the lack of quality market-rate and affordable

housing in New Orleans. Representatives of fair housing and other non-profit entities argued that

using the IZD to effectively stop the Development and downzone the Property and surrounding

properties to prevent the development of any multi-family housing would further segregation of

Lower Coast Algiers.

       75.     At the meeting, no City official pushed back against or expressed disagreement

with the opposition expressed by residents, nor did any City official mention or explain the City’s
                                                 -21-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 22 of 41




legal obligations under federal and state fair housing rights laws in connection with the

Development. In fact, no City official made any remark whatsoever, not even to address the CPC’s

unanimous recommendation against the IZD.

       76.     Instead, at the conclusion of public comment, Councilmember King moved to vote

on Motion Nos. 23-57 and 23-62 that would overrule the CPC, maintain the IZD, and deny

Plaintiff’s appeal. Six (6) councilmembers, including Councilmember King, voted in favor of both

Motions, with one member absent for each vote.

       77.     Motion No. 23-57 does not provide a single rational basis for overruling the CPC.

To the contrary, it merely recites, in only non-descriptive terms, the studies to be performed during

the duration of the IZD. Nowhere in the February IZD Motion does City Council give any reason

as to why such studies are necessary.

       78.     Throughout the IZD’s entire legislative process, the only written reason provided

by Defendants for the IZD was that the IZD was “deemed necessary and in the best interest of the

City of New Orleans.” Other than this vague and conclusory statement, Defendants have provided

no written or verbal justification for their passage of the IZD.

       79.     Upon information and belief, members of City Council, other than Councilmember

King, voted in favor of the IZD for one reason—namely, to adhere to City Council’s functioning

“gentlemen’s agreement” regarding zoning matters. Upon information and belief, under this

“gentlemen’s agreement,” each councilmember has agreed to vote in accord with the

councilmember from the affected district. Here, because the IZD concerns Councilmember King’s

district, and Councilmember King voted in favor of the IZD, so too did the remaining

councilmembers.

       80.     The City Council’s decision is a departure from ordinary procedure. According to

the Louisiana Fair Housing Action Center, which regularly monitors City actions pertaining to
                                                -22-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 23 of 41




zoning of affordable and multi-family housing, it is exceedingly rare for the City Council to

overrule the Planning Commission’s recommendation and move forward to block the development

of housing.

         81.   An initial reading of the IZD Ordinance was held on February 16, 2023. City

Council voted to adopt the Ordinance on March 9, 2023. The Ordinance was delivered to the

Mayor on March 10, 2023, who neither approved nor disapproved. As such, and as required by

law, the Ordinance became law on March 19, 2023.

         82.   Since the passage of the initial IZD Motion on October 6, 2022, Plaintiff has been

prohibited from furthering the Development and will continue to be prohibited under the current

IZD until at least March 19, 2024, which City Council can extend up to two additional 180-day

terms.

         83.   The IZD, for which the City Council has not given any justification, is arbitrary and

unnecessary. The issues it is supposedly meant to deal with are well-addressed by the design and

permitting processes already in place. The IZD, at present, only affects Plaintiff and can be seen

as a direct effort to halt Plaintiff’s development in response to the racist backlash from ETPOA.

The Stated Purpose of the IZD Is Pretextual

         84.   The stated purpose of the IZD—namely, to allow impact studies on traffic, flooding

and drainage, utilities, and the removal of trees and fauna—is plainly pretextual.

         85.   Each of the concerns that proponents of the IZD argue must be studied are already

incorporated in the design review and permitting process. Specifically, under Article 4.5 of the

CZO, all developments like The Village must undergo a review process that is open to the public.

         86.   As noted by members of the City Planning Commission, the stated concerns about

traffic, flooding and drainage, utilities, and the removal of trees and fauna apply equally to single-

family developments as they do to multi-family developments.
                                                -23-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 24 of 41




        87.     In fact, in terms of concerns about drainage and landscaping, a ban that prohibits

multi-family development but allows single-family development makes little sense. Both the CZO

and New Orleans Code of Ordinances contain building regulations and requirements specific to

drainage and stormwater management that a developer like Stanton Square must adhere to but that

do not apply to single-family developments. Stanton Square was already required to present a

stormwater management plan that mitigates the drainage impact, and, according to Stanton

Square’s design team’s early estimations, the Development’s plans were already exceeding those

regulations by twenty-five (25%) percent.

        88.     Moreover, in reviewing Stanton Square’s IZD appeal, the CPC Executive Director

found that the Development met the review standards that City Council established in the IZD

Motion, including standards regarding traffic and environmental impacts.

        89.     If English Turn and other Peninsula residents are truly concerned about the impact

on traffic, utilities, and design standards, they have every right to participate in the review process.

        90.     The use of an IZD to completely halt this Development in order to allegedly study

the exact same issues that would otherwise be addressed in the design review and permitting

process marks a significant departure from the City’s stated policies on supporting the

development of affordable housing.

        91.     Upon information and belief, this is the first time that Defendants have used an

interim zoning district to target and block a by-right, multi-family housing development. Members

of the City Planning Commission expressed incredulity at the use of an IZD to stop a by-right

development, demonstrating how unorthodox this is.

Defendants’ Actions Have a Disparate Impact Based on Race and Familial Status and
Perpetuate Segregation

       92.     Defendants’ actions in blocking the Development and its housing stock have had a

                                                 -24-
         Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 25 of 41




disparate impact on African American and Hispanic residents in New Orleans. According to 2021

American Community Survey estimates, African Americans make up 60% of the City’s renters,

while only making up 48% of the City’s homeowners.

          93.   Despite making up roughly 60% of the City’s population, African Americans and

Hispanics make up more than 83% of the people living below the poverty level in New Orleans.

More than half of African American households have a household income under the AMI, meaning

that African American households are significantly more likely to be cost burdened and in need of

affordable housing, as compared to Whites who make up just 15% of those below the poverty

level.

          94.   A disproportionate percentage of families with children are also eligible for

affordable housing. Over 30% of families with children under the age of 18 in New Orleans are

living below the poverty line, as compared to just 18.9% of families, generally. For single-parent

households, this number is even higher: 49.8% of single-mother households with children are

below the poverty level, making them the most in need of affordable housing.

          95.   By interfering with the development of the Property and preventing housing stock

that would bring African American and Hispanic residents and families with children to English

Turn, Defendants’ actions perpetuate and reinforce patterns of segregation in the City of New

Orleans.

          96.   The enactment of an IZD and other barriers to the development of multi-family

housing in a predominantly-White area where affordable, multi-family housing is scarce

specifically gives rise to racial disparities by limiting the types of housing opportunities mainly

taken by African American and Hispanic residents, who are disproportionately likely to seek out

affordable rental housing. That this was done, as surrounding areas more amenable to multi-family

housing have seen rapid diversification, can only be seen as an effort to stop racial minorities and
                                               -25-
     Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 26 of 41




families with children from continuing to move into the area.

Defendants Work to Accomplish ETPOA’s Goal of Making Zoning Permanent

       97.    Upon information and belief, the IZD is only the first step in protecting the

Peninsula from multi-family developments. The ultimate goal is to permanently stop The Village

by downzoning the Property and all other R-SM1 properties permanently to Suburban Single-

Family or Rural Residential Estate zoning designations.

       98.    Around the same time the IZD Motion was passed in October 2022,

Councilmember King, at the behest of the ETPOA, submitted an application to downzone all R-

SM1-designated properties on the Peninsula to a Suburban Single-Family or Rural Residential

Estate zoning designation through the FLUM amendment process. This process is currently

underway and expected to be completed this fall.

       99.    Upon information and belief, Councilmember King has been and is continuing to

encourage the ETPOA to continue and escalate its opposition to the Development.

       100.   The ETPOA’s NIMBY sentiments and efforts to prohibit any multi-family housing

anywhere on the Peninsula are reflected in the insidious and discriminatory comments residents

and others have made on The Village’s social media page, including:

              •   “[A]ffordable housing . . . creates crime because people don’t know how
                  to govern themselves. Since Katrina St. Bernard Parish has seen more
                  murders now that ever. The school is overran with people who bring the
                  same mentality of violence from New Orleans to outlining areas.”

              •   “I believe the track record of these affordable housing communities
                  speaks for itself. . . . They will allow criminals of all elements to take
                  over in time to come, which will degrade the properties surrounding area
                  substantially.

              •   “Nobody wants section 8 by their million dollar homes.”

              •   “Why would I want low income garbage around my house in a high
                  dollar area? Get off you’re a** and work harder if you wanna live back
                  here in English Turn. And on top of this if y’all trully believe in
                                              -26-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 27 of 41




                   whatever this NIMBYism garbage is . . . why don’t your developers put
                   this garbage next to their own personal homes. If you wanna talk a big
                   game about putting affordable housing up in high income areas di it in
                   your own area before you try and f**k up someone else’s
                   neighborhood.”

               •   “I wouldn’t want the crime, grass non existent because of cars parked in
                   the yard, cars on stands, and the crime that seems rampant in these
                   “‘affordable housing developments . . . .’”

               •   “You DO NOT put such low rent housing in upper class neighborhoods,
                   it will ruin that area in that it will destroy the worth of the houses, and
                   those rich ones, that contribute $ to the city will MOVE AWAY from
                   N.O. . . .”

               •   “Real Estate values and appraisals are determined by looking at
                   comparable sales in the area and at the neighboring homes. If you build
                   government funded, multi family projects around high end single family
                   homes in a gated community, you’re going to negatively impact the
                   value of the homes in the community.”

               •   “Orleans Parish is famous for these Large Scale, Cookie Cutter, Section
                   8 Housing Projects that Degenerate into Crime Ridden Slums!”

       101.    The ETPOA’s discriminatory ill will has spread from the Property to its owner, Ms.

Zhang, who is of Chinese national origin. They have pointedly referred to her racial and ethnic

background in communications and have repeatedly cast her as a foreigner who is ignorant of

cultural norms. They have called her “simple minded,” “spite[ful],” and a “piece of work.”

Opposition Escalates with Vandalism and Criminal Trespass

       102.    Residents of the English Turn community have recently began pursuing additional

avenues to halt development on the Peninsula, such as lobbying for a new ordinance that would

require a permit before a landowner on the Peninsula could remove trees and clear their land.

       103.    This new measure was prompted by outrage expressed among English Turn

residents that Plaintiff was continuing certain development activities permitted within the bounds

of the IZD. Specifically, because the IZD does not in any way prohibit the clearing of trees and

fauna on the Property, nor is any permit required for the removal of trees on the Property, Plaintiff
                                                -27-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 28 of 41




recently resumed clearing the land, including the removal of trees and fauna that are of invasive

and non-native species.

       104.    In response to these activities, on Saturday, July 8, 2023, the ETPOA announced a

special meeting to its members through email and by flyers circulated around English Turn and

the nearby Arbors Estates. The meeting was to discuss what measures could be taken to stop

Plaintiff from clearing any further trees.

       105.    The following night, sometime between 10:00 p.m. on Sunday, July 9 and 6:00 a.m.

on Monday, July 10, one or more individuals trespassed onto the Property and vandalized the tree-

clearing equipment by spray-painting obscenities onto it and destroying parts of the equipment by

inserting sticks and debris into the equipment’s openings.




                                               -28-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 29 of 41




       106.    Plaintiff reported the vandalism to the New Orleans Police Department. An officer

arrived to the scene thereafter to investigate, and to date, no arrests have been made.

       107.    At the ETPOA meeting the following day, there was some discussion about the
                                           -29-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 30 of 41




vandalism to the construction site and equipment. During the discussion about the vandalism and

Plaintiff’s tree clearing, members of the ETPOA expressed anger toward the owner of Stanton

Square, Dr. Zhang, claiming she was “stick[ing] a middle finger at [city] council.”

Injury to Plaintiff

       108.    Through their actions described herein, Defendants have injured and are continuing

to injure Plaintiff, as well as the intended residents of The Village.

       109.    Defendants’ imposition of a pretextual building moratorium and denial of

Plaintiff’s IZD Appeal are inconsistent with the City’s Master Plan and need for more affordable

housing and constitutes a constructive denial of Plaintiff’s application for The Village’s

development.

       110.    Defendants’ actions, including, inter alia, the constructive denial of Plaintiff’s by-

right development, the imposition of an interim zoning district to conduct entirely unnecessary and

pretextual studies, the overruling of the CPC’s unanimous recommendation against the IZD, the

last-minute deletion of a new appeal procedure that would have set precise, achievable, and less

discretionary standards for Plaintiff to meet in order to proceed with the Development,

Councilmember King’s resolute alliance with the ETPOA and disregard for the housing needs of

his other constituents in District “C,” especially in light of his conflict of interest as an affected

property owner, and the failure of City Council to provide any written or verbal rationale for the

IZD constitute unlawful interference with Plaintiff’s right to build an affordable housing complex,

because that project would benefit African Americans, Hispanics, and families with children.

       111.    City Council and other City officials’ tacit endorsement of the discriminatory

sentiments espoused by opponents of The Village have the intent and effect of retaliating against

Plaintiff for proposing an affordable housing complex for the Lower Coast Algiers and in chilling

Plaintiff and others from proposing similar developments in the future.
                                                 -30-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 31 of 41




       112.    The entire sequence of events, including the initial passage of the IZD Motion, the

sudden removal of Plaintiff’s application from the DAC’s docket, the rejection of the CPC’s

unanimous vote against the IZD, and the adoption of the IZD Ordinance have put the Development

in serious jeopardy.

       113.    Plaintiff cannot seek or obtain necessary permits until the IZD is lifted, which could

be as late as March 2025, at which point, the Property may already be rezoned as single-family or

rural. It cannot start work on the Project until those permits have been obtained.

       114.    Plaintiff has expended significant financial resources in planning The Village and

revising its plans to meet the requirements of the DAC and CPC, including, but not limited to,

project management expenses and costs incurred in developing and revising the site plan,

architectural drawings, engineering plans, and other plans.

       115.    Plaintiff continues to seek to develop The Village at the Property. Defendants’

actions continue to prevent Plaintiff from developing The Village or a similar affordable housing

development at that site.

       116.    In addition to the injuries that Plaintiff has suffered and continues to suffer,

Defendants’ actions have had and continue to have the purpose and effect of limiting housing

opportunities for racial minorities and families with children who would live at The Village.

       117.    Defendants’ actions are disproportionately denying housing opportunities in Lower

Coast Algiers to racial minorities and families with children.

       118.    Defendants’ actions have the purpose and effect of perpetuating racial segregation

in housing in Lower Coast Algiers and on the Peninsula, because those actions will prevent African

American and Hispanic families from the surrounding areas from moving into the area.

       119.    Defendants’ actions constitute unlawful interference with housing opportunities on

the basis of race and familial status.
                                                -31-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 32 of 41




          120.   The unnecessary delay and loss of housing opportunities to African Americans,

Hispanics, and families with children, due to unlawful discrimination, constitute an irreparable

harm to those groups. Plaintiff’s development of The Village would provide desperately needed

affordable housing to individuals and families in the Lower Coast Algiers area and on the

Peninsula.

          121.   Through their actions described above, Defendants have acted intentionally,

maliciously, and with willful, malicious, wanton, and reckless disregard for federal and state fair-

housing and non-discrimination laws.

          122.   As a proximate result of the acts and practices described above, Plaintiff has, is,

and will continue to suffer great and irreparable loss and injury in the future, including, but not

limited to, economic losses and a deprivation of Plaintiff’s right to develop racially-integrated

affordable housing for individuals and families free from discrimination based on race and familial

status.

                                  FIRST CAUSE OF ACTION
                                Fair Housing Act, 42 U.S.C. § 3604

          123.   Plaintiff incorporates by reference the above allegations as fully set forth herein.

          124.   Defendants, through their actions and omissions, and the actions and omissions of

their agents described above, are liable for the violation of Plaintiff’s rights under the federal Fair

Housing Act, 42 U.S.C. § 3604(a), under which it is unlawful “[t]o sell or rent after the making of

a bona fide offer, or to refuse to negotiate for the sale or rental of, or otherwise make unavailable

or deny, a dwelling to any person because of race, color, religion, sex, familial status, or national

origin” by, inter alia, enacting the IZD and denying Plaintiff’s ability to obtain the permitting it

needs to develop, Defendants have made housing unavailable to renters in the New Orleans region.

          125.   Defendants are further liable under 42 U.S.C. § 3604(b), which makes it unlawful

                                                  -32-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 33 of 41




to “[t]o discriminate against any person in the terms, conditions, or privileges of sale or rental of a

dwelling, or in the provision of services or facilities in connection therewith, because of race, color,

religion, sex, familial status, or national origin” by, inter alia, enacting the IZD and denying

Plaintiff’s ability to obtain permitting it needs to develop, Defendants have imposed a

discriminatory term and condition on the process that Plaintiff’s proposed development is required

to undergo.

        126.    Defendants’ actions to obstruct and delay the Development through the passage of

an illegitimate interim zoning district are and have been based on discriminatory motives related

to the race of the likely residents of The Village, specifically the likelihood that the population of

The Village will include many African Americans, Hispanics, and families with children.

        127.    Defendants’ actions impose a disproportionate harm on African Americans and

other minorities by depriving them of affordable housing in Lower Coast Algiers. Defendants’

change in enforcement and imposition of new policies disproportionately deprives African

American and Hispanic residents of housing opportunities in a manner that goes beyond pre-

existing disparities.

        128.    Defendants’ actions perpetuate and reinforce patterns of segregation in the City of

New Orleans and its housing market.

        129.    Plaintiff has been injured by Defendants’ discriminatory conduct and has suffered

damages as a result.

        130.    Defendants’ conduct was intentional, willful, and made in reckless disregard of

the known rights of others.

        131.    Wherefore, Plaintiff is entitled to a judgment that Defendants have violated 42

U.S.C. § 3604 and is entitled to damages in an amount to be proven at trial.



                                                 -33-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 34 of 41




                                SECOND CAUSE OF ACTION
                               Fair Housing Act, 42 U.S.C. § 3617

       132.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

       133.     Defendants, through their actions and the actions of their agents described above,

are liable for the violation of Plaintiff’s rights under the federal Fair Housing Act, 42 U.S.C. §

3617, under which “[i]t shall be unlawful to coerce, intimidate, threaten, or interfere with any

person in the exercise or enjoyment of, or on account of his having exercised or enjoyed, or on

account of his having aided or encouraged any other person in the exercise or enjoyment of, any

right granted or protected by section 3603, 3604, 3605, or 3606 of this title.” Defendants’ actions

have interfered with Plaintiff’s efforts to build and operate an affordable housing development that

would disproportionately benefit African Americans and other minorities and constitute retaliation

against Plaintiff for proposing a project that would serve these groups.

       134.    Defendants’ actions to obstruct and delay the Development through the passage of

an illegitimate interim zoning district are and have been based on discriminatory motives related

to race, national origin, and familial status of its likely residents, specifically the likelihood that

the population of the Development will include many African Americans and other minorities, or

others who, because of their personal status, are protected by federal, state, or local law from

discrimination. Defendants’ imposition of an interim zoning district, combined with their attempt

to bar any subsequent attempts by Plaintiff to develop multi-family housing on the Property, are a

scorched-earth effort to punish Plaintiff for even attempting to develop multi-family affordable

housing.

       135.    Defendants’ actions also impose disproportionate harms to African Americans and

other minorities by actively barring the development of any kind of affordable multi-family

housing in Lower Coast Algiers, further exacerbating an affordable housing shortage in New

                                                 -34-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 35 of 41




Orleans and impeding racial desegregation in Lower Coast Algiers and the Peninsula.

          136.    Plaintiff has been injured by Defendants’ conduct and has suffered damages as a

result.

          137.    Defendants’ conduct was intentional, willful, and made in reckless disregard of the

known rights of others.

          138.    Wherefore, Plaintiff is entitled to a judgment that Defendants have violated 42

U.S.C. § 3617 and is entitled to damages in an amount to be proven at trial.

                                    THIRD CAUSE OF ACTION
                 Title VI of the Civil Rights Act of 1964, 42 U.S.C.A. § 2000d et seq.

          139.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

          140.    The City is a recipient of federal Community Development Block Grant (“CDBG”)

funding.

          141.    Defendants, through their actions and the actions of their agents described above,

are liable for the violation of Plaintiff’s rights under Title VI of the Civil Rights Act of 1964, 42

U.S.C.A. § 2000d et seq., under which, “[n]o person in the United States shall, on the ground of

race, color, or national origin, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial assistance.”

The discrimination from which The Village is suffering will directly and adversely impact the right

of the intended beneficiaries of The Village’s development and operation, which will

disproportionately include African Americans and other racial minorities, to be free from

discrimination.

          142.    Plaintiffs have been injured by Defendants’ discriminatory conduct and have

suffered damages as a result.




                                                   -35-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 36 of 41




                                 FOURTH CAUSE OF ACTION
               Title VI of the Civil Rights Act of 1964, 42 U.S.C.A. § 2000d et seq.

        143.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

        144.    Defendants, through their actions and the actions of their agents described above,

are liable for the violation of Plaintiff’s rights under Title VI of the Civil Rights Act of 1964, 42

U.S.C.A. § 2000d et seq., under which, “[n]o person in the United States shall, on the ground of

race, color, or national origin, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial assistance.”

The discrimination Plaintiff is suffering will directly and adversely impact the right of the intended

beneficiaries of Plaintiff’s development and operation of The Village, which will

disproportionately include African Americans and other racial minorities, to be free from

discrimination.

        145.    Plaintiff has been injured by Defendants’ discriminatory conduct and has suffered

damages as a result.

                                 FIFTH CAUSE OF ACTION
                  Violation of the Louisiana Equal Housing Opportunity Act
                                   La. R.S. § 51:2601, et seq.

        146.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

        147.    Defendants, through their actions and omissions, and the actions and omissions of

their agents described above, are liable for the violation of Plaintiff’s rights under the Louisiana

Equal Housing Opportunity Act, La. R.S. § 51:2606(1), under which it is unlawful “[t]o sell or

rent after the making of a bona fide offer, or to refuse to negotiate for the sale or rental of, or

otherwise make unavailable or deny, a dwelling to any person because of race, color, religion, sex,

familial status, national origin, or natural, protective, or cultural hairstyle.”

        148.    Defendants’ actions to obstruct and delay the Development through the passage of

                                                  -36-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 37 of 41




an illegitimate interim zoning district are and have been based on discriminatory motives related

to the race of the likely residents of The Village, specifically the likelihood that the population of

The Village will include many African Americans, Hispanics, and families with children.

        149.    Defendants’ actions impose a disproportionate harm on African Americans and

other minorities by depriving them of affordable housing in Lower Coast Algiers. Defendants’

change in enforcement and imposition of new policies disproportionately deprive African

American and Hispanic residents of housing opportunities in a manner that goes beyond pre-

existing disparities.

        150.    Defendants’ actions perpetuate and reinforce patterns of segregation in the City of

New Orleans and its housing market.

        151.    Plaintiff has been injured by Defendants’ discriminatory conduct and has suffered

damages as a result.

        152.    Defendants’ conduct was intentional, willful, and made in reckless disregard of the

known rights of others.

        153.    Wherefore, Plaintiff is entitled under La. R.S. §51:2613 to redress for Defendants’

violation of La. R.S. §51:2606(1), including temporary and permanent injunctive relief, actual and

punitive damages, and an award of attorneys’ fees and costs.

                               SIXTH CAUSE OF ACTION
                                  Violation Of Due Process
                    Under 42 U.S.C. § 1983 and the Louisiana Constitution

        154.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

        155.    Defendants have deprived Plaintiff of its property and liberty interests under color

of law without due process of law in violation of the Due Process Clause of the Fourteenth

Amendment to the United States Constitution and the Louisiana Constitution.

        156.    A “hallmark of procedural due process that ‘a biased decisionmaker is
                                                 -37-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 38 of 41




constitutionally unacceptable.’” Nasierowski Bros. Inv. Co. v. City of Sterling Heights, 949 F.2d

890, 897 n.8 (6th Cir. 1991) (quoting Withrow v. Larkin, 421 U.S. 35, 47 (1975)) (alteration

adopted). This includes decisions involving zoning and ordinances. Id.

       157.    Plaintiff has the right to develop the Property free from arbitrary restrictions

imposed by biased officials.

       158.    City Council’s passage of the IZD and its denial of Plaintiff’s IZD Appeal violate

the Due Process Clause of the U.S. and Louisiana Constitutions. Because of the “gentleman’s

agreement” among the Councilmembers, Defendants’ actions were premised upon the whims of a

biased decisionmaker, namely Councilman King. City Council’s vote in unison with Councilman

King was arbitrary and capricious and deprived Plaintiff of any meaningful due process.

       159.    Additionally, Plaintiff possesses a liberty interest to engage in whatever legal

business it elects to pursue, including the design and construction of a multi-family housing

complex, free from Defendants’ interference based solely on the fact that a group of nearby

wealthy homeowners do not want to live next to renters, most of whom will likely be African

American or other minorities.

       160.    By engaging in the scheme set forth above to provide an empty, meaningless

process, with a pre-determined result—i.e., to enact the Interim Zoning District and deny

Plaintiff’s appeal of same—Defendants impermissibly deprived Plaintiff of its property interest

without due process of law.

       161.    Defendants’ actions against Plaintiff and its Property were arbitrary, capricious,

unreasonable, and do not bear a substantial relationship to the New Orleans Master Plan, Louisiana

law, or the circumstances of the case.

       162.    As a result, Plaintiff has suffered, and will continue to suffer, the deprivation of its

vested rights under the United States Constitution and the Louisiana Constitution.
                                                -38-
      Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 39 of 41



        163.    Wherefore, Plaintiff is entitled to a judgment that Defendants have violated 42 U.S.C. §

1983 and is entitled to injunctive relief and damages in an amount to be proven at trial.

                                        INJUNCTIVE RELIEF

        164.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

        165.    Plaintiff is entitled to injunctive relief, mandatory and prohibitory, against

Defendants, preventing them from continuing the course of actions that wrongfully deprive

Plaintiff of its constitutional rights and that cause it other harm.

        166.    Although Plaintiff may be entitled to monetary compensation for its special and

general damages in an amount determined just on account of past, current, and future injury,

Defendants have acted unconstitutionally and have violated the Fair Housing Act and other state

and federal statutes.

        167.    These wrongful and unlawful actions are presently ongoing, so that Plaintiff is

entitled to a preliminary and permanent injunction against their continuation.

                  REQUEST FOR ISSUANCE OF A WRIT OF MANDAMUS

        168.    Plaintiff incorporates by reference the above allegations as if fully set forth herein.

        169.    Plaintiff is entitled to the immediate issuance of a writ of mandamus, requiring

Defendants to forthwith dissolve the IZD or, alternatively, grant the appeal of the IZD that was

applied for by Plaintiff.

        170.    Said writ of mandamus should be issued, because the delay involved in obtaining

ordinary relief may cause injustice.

        WHEREFORE, Plaintiff, Stanton Square, LLC, respectfully requests the following relief

against all Defendants, jointly and severally:

        A.      Enter judgment on each count in favor of Plaintiff;

        B.      Enter judgment enjoining Defendants from enforcing the Interim Zoning District;

                                                    -39-
Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 40 of 41




 C.   Enter an order of declaratory relief granting each of the requested declarations in

      the Counts listed above;

 D.   Enter judgment issuing a writ of mandamus directing Defendants to dissolve the

      IZD, or, alternatively, to grant Plaintiff’s IZD Appeal or to show cause to the

      contrary;

 E.   Enter a finding of joint and several liability for the Defendants named in each count

      of this Complaint;

 F.   Award compensatory damages, special damages, consequential damages, direct

      and indirect damages, incidental damages, general damages, exemplary damages,

      punitive damages, just compensation, and other monetary relief in an amount to be

      proven at trial;

 G.   Award punitive damages to Plaintiff in an amount to be determined by the this

      Honorable Court that would punish Defendants for their willful, wanton, and

      reckless conduct alleged herein and that would effectively deter Defendants from

      engaging in similar conduct in the future;

 H.   Award Plaintiff pre-judgment and post-judgment interest, and their costs of

      litigation and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1983, La. R.S.

      §51:2613, and other statutes and common law; and

 I.   Award Plaintiff such all other relief as this Honorable Court deems just,

      appropriate, and equitable.




                                      -40-
Case 2:23-cv-05733-BSL-MBN Document 1 Filed 10/03/23 Page 41 of 41




                              Respectfully Submitted,



                              /s/__Randall A. Smith_________________
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                                      —and—

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                              pending)
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                               -41-
